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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

MASSMANN & ASSOCIATES, LLC, )
                            )
        Plaintiff,          )
                            )
    v.                      )                         No. 4:25CV378 HEA
                            )
WEIHE ENGINEERS, INC.,      )
                            )
        Defendant.          )

                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Plaintiff’s Motion to Remand. [Doc. No.

4]. The Motion is fully briefed and is ready for disposition. For the reasons set forth

below, the Motion to Remand will be granted.

                              Facts and Background

      In April 2024, Plaintiff Massmann & Associates, LLC filed a Petition in state

court against Defendant Weihe Engineers, Inc., alleging that Defendant breached a

promissory note. [ECF No. 1-2 at 137-38]. Plaintiff specifically alleges that on

August 3, 2022, Plaintiff and Defendant entered into a bill of sale in which

Defendant agreed to purchase certain assets from Plaintiff. Id. at 137. That same day,

Defendant delivered a promissory note to Plaintiff in the amount of $284,635.36. Id.

Pursuant to the promissory note, Defendant is obligated to make payments of $5,000

per month to Plaintiff, but beginning on March 13, 2025, Defendant ceased making
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the required payments. Id. at 138. For the payments owed between March 2023 and

March 2024, Plaintiff was “damaged in the amount of $65,000, together with interest

thereon, which is an amount less than $75,000.” Id.

      On March 25, 2025, Defendant filed a Notice of Removal, asserting that this

Court has diversity jurisdiction. [ECF No. 1]. Defendant states that it is a citizen of

Indiana and that Plaintiff is a citizen of Missouri. Id. at 1-2. Defendant acknowledges

that Plaintiff demanded less than $75,000 in the Petition, but Defendant asserts that

the amount in controversy exceeds $75,000 based on a March 24, 2025 email

exchange in which Defendant’s counsel asked whether Plaintiff had a formal

demand amount, and Plaintiff’s counsel responded, “$133,125.” Id. at 1.

      Plaintiff moves to remand this case to state court. [ECF No. 4]. Plaintiff argues

that Defendant has not established to a legal certainty that the amount in controversy

exceeds $75,000, emphasizing that it explicitly pled in the Petition that it was

seeking to recover a total of $65,000 plus interest for the 13 missed payments

between March 2024 and March 2025, which is an amount less than $75,000. [ECF

No. 5 at 2-6]. Plaintiff states that the $133,125 demand was for a global settlement

of all of the disputes between the parties and did not change the amount in

controversy in this case. Id. at 4. Plaintiff contends that the demand in the Petition

should be sufficient to establish that the amount in controversy is less than $75,000.

Id. at 4-5. However, out of an abundance of caution, Plaintiff has also submitted a


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28 U.S.C. § 1746 declaration signed by Plaintiff’s owner, William Massmann. [ECF

No. 5-3]. In the declaration, Massmann states that Plaintiff filed “suit to recover the

missed payments from March 2023 to March 2024,” the “missed payments equaled

$65,000 plus interest,” the global demand was sent in response to Defendant’s

request and includes “payments that are not yet the subject of any suit,” and Plaintiff

“does not and will not seek any damages beyond the missed payments from March

2023 to March 2024 and will not seek damages greater than or equal to $75,000.”

[ECF No. 5-3 at 2-3]. Plaintiff also asks the Court to award Plaintiff attorney fees it

incurred as a result of the removal of this case pursuant to 28 U.S.C. § 1447(c). Id.

at 8-9. Plaintiff argues that Defendant’s Notice of Removal is frivolous and was filed

in bad faith for the sole purpose of delaying the state court proceedings. [ECF No. 5

at 6-8].

       Defendant opposes the Motion to Remand, arguing that, while Plaintiff has

declared it will not seek damages in excess of $75,000, no binding stipulation has

been made. [ECF No. 24 at 1-3]. Defendant contends that attorney fees should be

denied because Plaintiff’s March 24, 2025 email response provided a good-faith

basis for removing the case. Id. at 3-5.

       Plaintiff replies that all of the cases Defendant cites are inapposite because

they involved petitions that did not plead a specific sum, whereas the instant Petition

specified that Plaintiff was seeking damages in the amount of $65,000. [ECF No. 25


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at 1-3]. Plaintiff reiterates its contention that an award of attorney fees is appropriate

because Defendant had no good-faith basis for removal. Id. at 3-5.

                                    Legal Standard

      “Federal courts are courts of limited jurisdiction.” Myers v. Richland Cnty.,

429 F.3d 740, 745 (8th Cir. 2005) (citing Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 377 (1994)). A claim may be removed to federal court only if it could

have been brought there originally. Peters v. Union Pac. R.R. Co., 80 F.3d 257, 260

(8th Cir. 1996).

       “If at any time before final judgment it appears that the district court lacks

subject matter jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c). “The

[removing] defendant bears the burden of establishing federal jurisdiction by a

preponderance of the evidence.” In re Prempro Prods. Liab. Litig., 591 F.3d 613,

620 (8th Cir. 2010). “All doubts about federal jurisdiction should be resolved in

favor of remand to state court.” Id. (citing Wilkinson v. Shackelford, 478 F.3d 957,

963 (8th Cir. 2007)).

                                      Discussion

      A defendant may remove to federal court any state court civil action over

which the federal court could exercise original jurisdiction. 28 U.S.C. § 1441(a). A

federal court has diversity jurisdiction over civil actions between citizens of different

states when the amount in controversy exceeds $75,000, exclusive of interest and


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costs. 28 U.S.C. § 1332(a)(1). “[T]he court’s jurisdiction is measured either at the

time the action is commenced or . . . at the time of removal.” Schubert v. Auto

Owners Ins. Co., 649 F.3d 817, 822 (8th Cir. 2011) (first citing McLain v. Andersen

Corp., 567 F.3d 956, 965 (8th Cir. 2009); and then citing Kan. Pub. Emps. Ret. Sys.

v. Reimer & Kroger Assocs., Inc., 77 F.3d 1063, 1067-68 (8th Cir. 1996)). While

post-removal events “do not oust the district court’s jurisdiction once it has

attached,” St. Paul Mercury Indem. Co. v. Red Cab. Co., 303 U.S. 283, 293 (1938),

the Court may consider subsequent events showing that the amount in controversy

exceeded $75,000 at the time federal court jurisdiction was invoked, Schubert, 649

F.3d at 823. Thus, post-removal affidavits and declarations may be considered to

resolve whether the Court has jurisdiction. Leflar v. Target Corp., 57 F.4th 600, 605

(8th Cir. 2023) (citing Pudlowski v. The St. Louis Rams, LLC, 829 F.3d 963, 964-65

(8th Cir. 2016) (per curiam)).

      The Supreme Court has “explained that the amount-in-controversy

requirement must be strictly construed so as not to frustrate the congressional

purpose behind it: to keep the diversity caseload of the federal courts under control.”

Vistine v. Saab Auto. A.B., 891 F. Supp. 496 (E.D. Mo. 1995) (citing Snyder v.

Harris, 394 U.S. 332, 339 (1969)). If removal is sought on the basis of diversity

jurisdiction, “the sum demanded in good faith in the initial pleading shall be deemed

to be the amount in controversy.” 28 U.S.C. § 1446(c)(2); see also Horton v. Liberty


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Mut. Ins. Co., 367 U.S. 348, 353 (1961) (“The general federal rule has long been to

decide what the amount in controversy is from the complaint itself, unless it appears

or is in some way shown that the amount stated in the complaint is not claimed ‘in

good faith.’” (quoting St. Paul Mercury Indem. Co., 303 U.S. at 288). However,

“[w]hen the plaintiff’s complaint does not state the amount in controversy, the

defendant’s notice of removal may do so.” Dart Cherokee Basin Operating Co., LLC

v. Owens, 574 U.S. 81, 84 (2014) (citing 28 U.S.C. § 1446(c)(2)(A)).

       “If [the plaintiff] does not desire to try his case in the federal court he may

resort to the expedient of suing for less than the jurisdictional amount, and though

he would be justly entitled to more, the defendant cannot remove.” St. Paul Mercury

Indem. Co., 303 U.S. at 294; Usery v. Anadarko Petroleum Corp., 606 F.3d 1017,

1018 (8th Cir. 2010) (“[I]f a plaintiff’s complaint asks ‘for less than the jurisdictional

amount, only the sum demanded is in controversy,’ and so a federal court has no

jurisdiction over the action.” (quoting 14AA Charles A Wright, Arthur R. Miller,

and Edward H. Cooper, FEDERAL PRACTICE AND PROCEDURE § 3702, 48 (3d ed.

Supp. 2009))). Although the sum claimed by the plaintiff in good faith is usually

dispositive, it does not control where it appears to a legal certainty that the plaintiff’s

claim is actually for the jurisdictional amount or greater. Schubert v. Auto Owners

Ins. Co., 649 F.3d 817, 822 (8th Cir. 2011) (citing St. Paul Mercury Indem. Co., 303

U.S. at 289). “The legal certainty standard is met where the ‘legal impossibility of


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recovery [is] so certain as virtually to negative the plaintiff’s good faith in asserting

the claim.’” Schubert, 649 F.3d at 822 (alteration in original) (quoting JTH Tax, Inc.

v. Frashier, 624 F.3d 635, 638 (4th Cir. 2010)).

      Here, Defendant has not met its burden of showing that the amount in

controversy exceeds $75,000. Plaintiff expressly stated in the Petition that the

amount in controversy is $65,000, and it appears that the amount was claimed in

good faith. See 28 U.S.C. § 1446(c)(2) (“[T]he sum demanded in good faith in the

initial pleading shall be deemed to be the amount in controversy.”); Schubert, 649

F.3d at 822 (stating that “the sum claimed by the plaintiff in good faith is usually

dispositive”); Horton, 367 U.S. at 353 (“The general federal rule has long been to

decide what the amount in controversy is from the complaint itself, unless it appears

or is in some way shown that the amount stated in the complaint is not claimed ‘in

good faith.’”).

      While Defendant points to the settlement demand in Plaintiff’s March 24,

2025 email in support of its contention that the amount in controversy exceeds the

requisite jurisdictional amount, the “settlement demand alone is not sufficient

evidence to establish the existence of the jurisdictional minimum.” Baker v. Fangio

Enters., Inc., No. 4:18-CV-751 CAS, 2018 WL 2316030, at *2 (E.D. Mo. May 22,

2018) (citing Corlew v. Denny’s Rest., Inc., 983 F. Supp. 878, 880 (E.D. Mo. 1997));

New v. Hunter’s View, Ltd., 2007 WL 1040926, at *3 (E.D. Mo. Apr. 4, 2007) (“[A]


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settlement letter is only one factor to consider in assessing the amount in controversy

and . . . courts must consider the context in which such a settlement demand was

made.” (quoting Vermande v. Hyundai Motor Am., Inc., 352 F. Supp. 2d 195, 202

(D. Conn. 2004))). As courts in this district have explained, “assertions made during

settlement negotiations may be motivated by unreliable considerations, such as

posturing, or a desire for a quick resolution, rather than an accurate appraisal of the

merits of the claim.” See e.g., Jackson v. Fitness Res. Grp., Inc., No. 4:12 CV 986

DDN, 2012 WL 2873668, at *4 (E.D. Mo. July 12, 2012) (quoting Turner v.

Wal-Mart Stores East, LP, No. 4:11 CV 541 CDP (E.D. Mo. May 4, 2011)); Logan

v. Value City Dep’t Stores, LLC, No. 4:08-CV-19 CAS, 2008 WL 1914168 (E.D.

Mo. Apr. 29, 2008) (“Courts should be alert to the fact that settlement offers can

often be wildly unrealistic and constitute mere puffery or posturing rather than a fair

or realistic appraisal of a party’s damages.” (quoting Vermande, 352 F. Supp. 2d at

203)). Further, Massmann’s declaration establishes to a legal certainty that the claim

is for less than the requisite amount. See Elliot v. Valvoline (Kentucky), LLC, No.

4:18-cv-01351-AGF, 2018 WL 4853033, at *2 (finding that plaintiff’s “affidavits

have served to clarify the original pleading and establish to a legal certainty that the

claim is for less than the requisite amount” (citing McGuire v. J.B. Hunt Transp.,

Inc., No. 4:10CV746MLM, 2010 WL 2399550, at *4 (E.D. Mo. June 10, 2010)));

see also Leflar, 57 F.4th at 605 (vacating and remanding where the district court


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failed to consider a post-removal declaration regarding the amount in controversy).

Thus, the Court lacks subject matter jurisdiction over this action. See Usery, 606

F.3d at 1018 (explaining that if the initial pleading asks for less than the jurisdictional

amount, then only the sum demanded is in controversy, and a federal court has no

jurisdiction over the action).

      Plaintiff requests that this Court award attorney fees pursuant to § 1447(c).

Although Defendant has not met its burden to establish federal jurisdiction, the Court

cannot say that it lacked an objectively reasonable basis for seeking removal. See

Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005) (“Absent unusual

circumstances, courts may award such fees only where the removing party lacked an

objectively reasonable basis for seeking removal.”). Thus, Plaintiff’s request for

attorney fees will be denied.

                                       Conclusion

      Defendant has not met its burden of establishing federal jurisdiction. As such,

the Court must remand this case to state court. See 28 U.S.C. § 1447(c); In re

Prempro Prods. Liab. Litig., 591 F.3d at 620.

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiff’s Motion to Remand, [ECF No.

4], is GRANTED.




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      IT IS FURTHER ORDERED that this matter is remanded to the Circuit

Court of St. Louis County, Missouri.

      IT IS FINALLY ORDERED that Plaintiff’s request for attorney fees is

denied.

      A separate Order of Remand will accompany this Opinion, Memorandum and

Order.

      Dated this 2nd day of June, 2025.



                                       ________________________________
                                          HENRY EDWARD AUTREY
                                       UNITED STATES DISTRICT JUDGE




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